      Case 1:24-cv-10049-LJL          Document 445         Filed 07/18/25      Page 1 of 71




July 18, 2025
Re: Case No: 1:24-cv-10049 Lively v Wayfarer
Dear Judge Liman,
Of note, there are no non-party rules for submission in the court’s Individual Practices to refer to
when filing with the court.
While the court is holding us non-parties to the standard of parties by quoting case law intended
for parties in its order, namely:
(See Sealed Plaintiff v. Sealed Defendant, 537 F.3d 185, 189 (2d Cir. 2008) (“The people have a
right to know who is using their courts.” (citation omitted)).
We object to this citation because we are not Plaintiffs, nor are we defendants in this case. We are
non-parties that have received subpoenas sent to a third party that did not go through the
appropriate process to be obtained and had they, they would not have met the standard to have
been approved. (Highfields Capital Mgmt., L.P. v. Doe, 385 F. Supp. 2d 969 (N.D. Cal. 2005).
The court in Highfields recognized that the First Amendment protects the right to anonymous
speech, particularly online, and that unmasking an anonymous speaker through discovery can
chill free expression. It therefore adopted a two-step test for when a party seeks to unmask an
anonymous defendant:
   1. Plaintiff must provide a prima facie case before the court by presenting sufficient
      evidence to establish an essential element of their claim, just as they would need to
      survive a motion for summary judgment.
   2. If a prima facie case is made, the court must balance the strength of the case and the
      necessity of the disclosure against the speaker’s First Amendment interest in maintaining
      anonymity.
I was not afforded this standard. Subpoenas were issued from this court, not only failing to meet
this standard, but failing to meet any standard. There is no evidence or sound legal basis
whatsoever to have issued this subpoena in the first place. Our objections have been clearly
noted in our Motions to Quash that so far have not been allowed into the docket. All we need
from this court is a stamp. Once we receive this, we can forward it to the third party that was
subpoenaed for our information. This court’s demand for our unmasking goes against our First
Amendment rights. We would not be in this position if the court had not allowed such a wayward
subpoena in the first place and yet the court demands our unmasking in a case that the entire
world is watching. How dare this court!


“When word spreads that people who have committed no wrongdoing can have their identities
disclosed through civil discovery… this kind of chill can be fatal to the use of the Internet as a
vehicle for free expression.”
— Highfields, 385 F. Supp. 2d at 980.
      Case 1:24-cv-10049-LJL          Document 445         Filed 07/18/25     Page 2 of 71




There are many cases supporting my stance in my position as a non-party whose information has
been subpoenaed to a third party. These are the cases that apply to me. (Music Grp. Macao
Commercial Offshore Ltd. v. Does, 82 F. Supp. 3d 979 (N.D. Cal. 2015) Where the court
reaffirmed the Highfields two-step test, requiring plaintiffs to show a “real evidentiary basis” for
alleged wrongful conduct before proceeding to balance First Amendment interests. (Smythe v.
Doe, No. 15‑mc‑80292, 2016 WL 452756 (N.D. Cal. Jan. 5, 2016) Where the court denied
unmasking where the plaintiff failed to present sufficient evidence satisfying the first Highfields
prong, thus not proceeding to the balancing step. In re PGS Home Co. Ltd., No. 19‑mc‑80139
(N.D. Cal. Nov. 25, 2019) In a §1782 foreign-discovery context, the court cited Highfields to
emphasize that allegations and speculation without evidentiary support are insufficient. (Fodor v.
Doe, 3:10‑CV‑0798‑RCJ (D. Nev.) The court applied Highfields’ balancing test and found that
Doe did not present sufficient evidence to overcome the strong First Amendment interest in
anonymity. (Signature Mgmt. Team LLC v. Doe, 2017 WL 1881016 (6th Cir.) Where the Sixth
Circuit applied Highfields-style balancing and denied unmasking where harm to anonymous
speech outweighed plaintiff’s interests.

Even more compelling: (Sony Music Entertainment Inc. v. Does 1–40, 326 F. Supp. 2d 556
(S.D.N.Y. 2004) In this case, Sony filed suit against dozens of allegedly infringing users on peer-
to-peer (P2P) networks. To identify the alleged infringers, Sony sought to subpoena internet
service providers to reveal subscriber identities. The court adopted a multi-factor test—similar
in structure and underlying purpose to the Highfields standard—for evaluating whether to allow
the disclosure of anonymous speakers. Sony’s test went beyond the Highfields standard requiring
the requesting party to demonstrate:

   1. A prima facie claim of copyright infringement (e.g. actual evidence beyond
      speculation);
   2. That the subpoena is sufficiently specific to identify only the alleged infringers;
   3. That there is no alternative means to obtain the information;
   4. A central need for the information to advance the plaintiff’s claim;
   5. A consideration of the anonymous speaker’s expectation of privacy and First
      Amendment interest.

The subpoena issued from this court for my information fails at every level of this test
established in this very court. The law recognizes that in order to request this information, a
subpoena is needed yet this court demands I readily supply it as if this subpoena has already been
granted. It has not, it should not be, and it should not have even been issued. The error lies with
this court but demands I bear the burden for its mistake.

Your responses, aside from telling us you will not entertain an anonymous filing, have given
little information to go on to respond to a subpoena that issued under the authority of your court.
For example, three of us have submitted; two Motions to Quash, one Letter of Intent, yet the
court did not clarify which one(s) needed “deanonymized.” Kindly address us by the names on
the wayward subpoena so we know which submission(s) need altered as our time to respond is
running short.
       Case 1:24-cv-10049-LJL          Document 445         Filed 07/18/25      Page 3 of 71




Because we are at the mercy of this court in spite of how much we object to the way in which we
have been brought into it, I have resubmitted mine on July 17, 2025, including my name,
position with the company that has been wrongly subpoenaed, address, and telephone number.
Do you require more than this? If so, I need further clarification.
An additional purpose of this letter is to inform the court that multiple non-parties who were
served this ill-gotten subpoena, are filing a complaint today with the California State Bar against
Esra Hudson, the attorney who signed it without the appropriate requirements of presenting a
prima facie showing before the court, passing the two prong standard of Highfields required to
unmask our First Amendment protected rights to publish anonymously on the Internet, and
without domesticating it to the appropriate court in Sacramento, CA where Google is located.
The contents of the complaint are found in Exhibit A.
On what legal basis were these subpoenas issued out of this court? Was ANY evidence at all
presented to validate them or is Ms. Lively free to submit just any subpoena to anyone that is not
her fan?
Ms. Lively has been gratuitously allowed to extend her witch hunt for discovery, in which she
has no evidence to support, and has amended this same subpoena to add members of X on July
17, 2025. Accordingly, more complaints and Motions to Quash will follow. The information she
seeks is easily obtainable from the actual parties to this case who have the privilege of being
legally represented when dealing with overbroad, inappropriate subpoenas.
At this time, we are drafting a complaint against the court as well.
Regards,


Ni Cai
Manager of Kassidy O’Connell, LLC
Subpoenaed as non-party @kassidyoc


Based on the sound arguments in this letter, I strongly express my wish for my name to be
redacted before being filed or supplied to the Lively parties but if the court will only publish or
“entertain” my correspondence by unmasking me against my First Amendment right, I have no
other option at this time other than to put the Lively parties and this court on notice that I reserve
the right to take action for this treatment by them in the future.
  Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 4 of 71




                   Exhibit A
  (The contents of the complaint we’re
drafting against attorney Esra Hudson to
       the State Bar of California)
   Case 1:24-cv-10049-LJL          Document 445          Filed 07/18/25       Page 5 of 71




We are filing this complaint against attorney Esra Hudson for issuing an improper subpoena
targeting anonymous non-party individuals in a manner that appears intended to chill
speech, delay discovery, and misuse the legal process. Her actions violated multiple
California Rules of Professional Conduct and disregarded constitutional protections under
the First Amendment.


Facts
1. Ms. Hudson issued a non-party subpoena through a New York court seeking to unmask
   anonymous YouTubers and other online speakers. The subpoena demanded highly
   sensitive data — including banking information, IP addresses, and physical locations —
   without any supporting factual evidence connecting us to the underlying litigation.
2. The subpoena was issued without a court order, violating the First Amendment
   protections governing anonymous online speech. Under the standard articulated in
   Highfields Capital Mgmt., L.P. v. Doe, 385 F. Supp. 2d 969 (N.D. Cal. 2005), a party
   seeking to unmask anonymous speakers must first make a prima facie case for its
   claims, followed by a balancing test to weigh the alleged harm against the speaker’s
   right to remain anonymous.

   Highfields warns that:
   "When word spreads that people who have committed no wrongdoing can have their
   identities disclosed through civil discovery… this kind of chill can be fatal to the use of
   the Internet as a vehicle for free expression." (Id. at 980)

   Ms. Hudson bypassed these constitutional safeguards entirely — there was no judicial
   oversight or prima facie showing. The subpoena was issued in the Southern District of
   New York, without jurisdiction over the affected parties or the corporation on which it
   was served – Google, LLC. It was never domesticated to California, where the
   subpoenaed corporation resides.
3. The subpoena compels anonymous parties to submit motions requiring identifying
   information such as names, addresses, and phone numbers to a foreign jurisdiction
   (New York) to defend their anonymity — despite the subpoena being unlawfully
   obtained and procedurally defective. This effectively unmasks and punishes those
   individuals for asserting their constitutional rights.
4. Ms. Hudson’s office denied issuing the subpoena on three separate occasions, then later
   claimed they were unsure via her reception who states they were operating under her
   specific instructions. We have an attorney’s statement and a recorded phone call
   documenting this contradiction, which raises serious concerns under the rules of
   professional honesty and truthfulness.
5. The subpoena appears intended not to uncover relevant evidence, but to:
   - Delay her client’s deposition and discovery obligations,
   - Chill online speech that is critical of her client, and
   Case 1:24-cv-10049-LJL          Document 445         Filed 07/18/25       Page 6 of 71




   - Impose needless cost, legal risk, and emotional distress on non-parties who were not
   involved in the litigation.


Violations of California Rules of Professional Conduct

Rule 3.1 – Meritorious Claims and Contentions
The subpoena was issued without any factual or legal foundation and made invasive
demands of uninvolved parties. The request lacked a good-faith basis and violated the
standard requiring attorneys to avoid frivolous or baseless legal actions.

Rule 4.1 – Truthfulness in Statements to Others
Ms. Hudson’s office made false and misleading statements regarding the issuance of the
subpoena. Her representatives denied it was issued, then later admitted uncertainty —
despite the fact that it had already been served. Such conduct reflects a lack of candor and
violates Rule 4.1.

Rule 8.4 – Misconduct
Ms. Hudson’s conduct — using a subpoena as a tool to harass anonymous individuals and
delay litigation — constitutes dishonesty, abuse of legal process, and interference with
protected rights, all of which qualify as misconduct under Rule 8.4(c).

Rule 8.4.1 – Conduct That Violates Legal Rights
By targeting anonymous speakers without due process and in violation of First Amendment
principles, Ms. Hudson infringed upon protected constitutional rights, thereby violating
Rule 8.4.1, which prohibits conduct that unlawfully discriminates against or denies
individuals the protection of legal rights.


Persuasive Authority – ABA Model Rules of Professional Conduct

ABA Rule 4.4(a) – Respect for Rights of Third Persons
A lawyer shall not use legal means that have no substantial purpose other than to
embarrass, delay, or burden a third person, or to obtain evidence in violation of their rights.

Ms. Hudson’s subpoena had no substantial litigation purpose. It was issued solely to
pressure and chill critics through the threat of exposure and court involvement as the
question of whether or not these non-parties had contact or received compensation from
Wayfarer is a question that should be compelled through the Wayfarer parties rather than
this archaic witch hunt style of lawyering.

ABA Rule 3.2 – Expediting Litigation
Attorneys must make reasonable efforts to expedite litigation consistent with their client’s
interests.
   Case 1:24-cv-10049-LJL           Document 445          Filed 07/18/25      Page 7 of 71




Instead of moving the case forward, the subpoena appears intended to delay proceedings,
specifically her client's deposition and discovery responsibilities, while simultaneously
punishing critical online voices.


Harm and Impact
The subpoena caused severe emotional distress, fear of exposure, and financial harm to the
targeted anonymous speakers and their loved ones. It forced uninvolved individuals to
engage attorneys to defend their basic right to free speech and anonymity. The process
lacked basic procedural fairness, and the legal system was exploited to retaliate against
criticism and avoid discovery obligations.


Relief Requested
I respectfully request that the State Bar of California investigate this matter as a violation of
the Rules of Professional Conduct and the ethical obligations that govern all members of the
California Bar. The misuse of a legal process to delay litigation, intimidate critics, and obtain
improper discovery from non-parties is serious misconduct that undermines both legal
ethics and constitutional protections.
            Case 1:24-cv-10049-LJL                Document 445             Filed 07/18/25          Page 8 of 71



                                        UNITED STATES DISTRICT COURT

                                      SOUTHERN DISTRICT OF NEW YORK




  IN RE: SUBPOENAS TO GOOGLE for Information from                              MOTION TO QUASH SUBPOENA
  YouTube and TikTok Content Creators 1-16,                                    Google Internal Reference #100884180
  Non-Party Movants.
                                                                              Served by:
  Served in the matter of
  Case Nos: 1:24-cv-10049-LJL; 1:25-cv-00449-LJL                              Esra Hudson
                                                                              Manatt Phelps & Phillips, LLP
  Blake Lively
  Petitioners
                                                                              On behalf of:
  V
                                                                              Blake Lively
  Wayfarer Studios LLC, et al.,
  Defendants.



         PLEASE TAKE NOTICE that Non-Party Movant YouTube account, @Kassidyoc, hereby moves this Court to

accept this pro se Motion to Quash pursuant to Federal Rules of Civil Procedure § 45(d)(3) and 45(c)(2), to quash or revoke

the subpoena issued to Google LLC, dated July 3, 2025, Internal Reference #100884180, seeking personally identifiable

information and private data associated with Movant’s YouTube account.

         I am filing this motion pro se while preparing to sign counsel for this matter because there are conflicting dates to

respond and I want to ensure there is some sort of response on file before the deadline that appears on the subpoena, which is

July 16, 2025. I have very little information on this subpoena (some accounts have not yet received a copy even at this late

moment), and because counsel named as the serving party of this mysterious subpoena has been extremely evasive and

uncooperative in addressing our questions and concerns as this document will show.

         Google has given us a respond date of July 31, 2025, but their subpoena request is due on July 16, 2025. Exhibit A

For reasons that will be revealed in this document, I am in fear that tactics may have been employed to cause confusion

and/or delay so that I will miss my chance to file on time. Google asked for an official, court stamped filing to be forwarded

to their legal department to begin steps to quash their subpoena for my information. That is why I am filing this today ahead

of being joined by my counsel. I feel I need an official record of my response and intent.

         Additionally, I wish to have this letter filed to make the court aware of the types of abusive, sweeping subpoenas

being served by Blake Lively at this point in discovery since she stated in dkt 410 that she has served 60 third party

                                                               1
                Case 1:24-cv-10049-LJL              Document 445              Filed 07/18/25          Page 9 of 71



subpoenas and intends to file several more motions for alternative service subpoenas – the same as these that have been

served to Movant. This is nothing but an unfounded fishing expedition. Exhibit B

I. INTRODUCTION

         This Motion to Quash Subpoena refers to a subpoena served on Google LLC seeking the unmasking of sixteen

mostly anonymous YouTube and TikTok creators under the premise that we are engaged in a smear campaign against

Plaintiff Blake Lively. Exhibit C The subpoena is unsupported by evidence, chilling of constitutionally protected speech, and

endangers the safety and privacy of non-parties uninvolved in the litigation.

         Ms. Lively, who still cannot accept that the criticism against her online is completely organic and of her own

making, has made yet another move guaranteed to make matters far worse for her reputation by lashing out at content

creators on social media. She has apparently failed to sufficiently prove her case of retaliation and with deadlines for

discovery looming, has engaged in a last-ditch effort to bring a fishing expedition in the hopes of just maybe finding a

connection between any Wayfarer party, including counsel, and some of the negative online reports. She is barking up the

wrong tree.

II. FACTUAL BACKGROUND

         Movant is #12 of 16 independent online commentators who lawfully analyze court filings and publicly available

material related to high-profile litigation. Movant, like all the others listed in the subpoena, does not have any affiliation or

communication with the Defendants, Defendants’ counsel, or anyone related to Defendants, in this matter. On or about July

10, 2025, Movants received notification from Google that their identifying information, including names, emails, addresses,

IP logs, payment data, and other personal information, was sought via subpoena in this action. Since that date, other creators

are still receiving their initial notifications. At present, I only know of 8 out of the 16 listed in the subpoena. Not all of us

have received a copy of the actual subpoena. I fear many will not have the chance to fight this subpoena due to not receiving

notification.

    The subpoena, issued by Plaintiff's counsel, Esra Hudson, requests the following from Google:

      A. Names, addresses, email accounts, and phone numbers including backups. (Any information Plaintiff wishes

          to collect regarding Wayfarer and communications with the media should be requested directly from Wayfarer

          instead of chasing down every account on social media that may have made negative remarks about Ms. Lively).

      B. IP addresses, login histories, and geolocation data. (Plaintiff has not explained, nor is it easily apparent why

          Movant’s locations have any bearing on this litigation. Plaintiff has further not explained why they want this


                                                                  2
     Case 1:24-cv-10049-LJL                  Document 445           Filed 07/18/25          Page 10 of 71



    information going back to May 2024 when Movant did not begin speaking about this topic until February 3, 2025,

    over a month after the lawsuit was filed). Furthermore, Ms. Lively herself makes a compelling argument that

    individuals have a constitutional right to privacy regarding their financial information. In her response to the

    Wayfarer Parties motion to compel her to disclose her own financial information, in litigation she elected to initiate

    and seek damages, where she states, "This argument falls woefully short of overcoming the general rule against

    seeking party assets and financial information and Ms. Lively's constitutional right to privacy of the same". Ms.

    Lively appears to recognize the basic elements of privacy rights that individuals are entitled to, despite her attempts

    to pierce the rights others are equally entitled to.

C. YouTube and Google Pay account information, including payment sources. (YouTube neither directly pays

    their creators, nor do they use Google Pay. No third party has access to add additional money to a YouTuber’s

    monthly pay. We are paid by AdSense according to ads run on our channel. Ironically enough, Mint Mobile often

    runs ads on my channel featuring their spokesperson, Ryan Reynolds, so if I’ve been paid directly or indirectly by

    anyone involved in this case, it’s former party, Ryan Reynolds).

D. Bank account and credit card information. (One finds themselves astonished at what could possibly be gained

    by accessing credit card information as everyone understands, or should understand, that credit cards are used for

    purchases and not for payments. Plaintiff claims to be looking for signs that I as a creator am somehow being paid

    by someone outside of AdSense to create my content. I am not. This request for Movant’s financial records is

    overwhelmingly invasive. I restate that any information Plaintiff wishes to collect regarding Wayfarer and

    communications or payments with media and social media should be requested directly from Wayfarer instead of

    chasing down every account that may have made negative remarks about Ms. Lively and demanding I show my,

    and anyone whom I share a bank account with, private financial information). I fail to see why information such as

    bank numbers would be required for any other purpose than to issue a further subpoena to the financial institutions

    with whom I conduct my business, in order to obtain fuller financial records which have no relevance to Ms.

    Lively's claims and are grossly intrusive.

E. Subscriber registration data, premium services, and account usage history (it is unclear what this entails as far

    as my subscriber registration data or what premium services have to do with any part of this litigation. This request

    needs clarification if the Court, as it usually does, grants her this invasive subpoena. Does this mean channels I

    subscribe to or channels that subscribe to mine? Is it premium services I subscribe to or premium services used to


                                                           3
       Case 1:24-cv-10049-LJL                 Document 445             Filed 07/18/25         Page 11 of 71



      subscribe to me? And finally, what IS a YouTube premium service? We cannot control, nor is it an easy task to

      keep track of who subscribes to our channels. I restate that if Ms. Lively wishes to know if a member of the

      Wayfarer party or counsel subscribe to my channel, this question should be directed to Wayfarer and not to me. I

      firmly object to my channel being used as a means to investigate people who subscribe to me so that Ms. Lively

      can add more innocent people to her desperate and paranoid list of possible culprits in an imaginary smear

      campaign.

F.    These requests are overly broad, highly intrusive, and completely without merit. Plaintiff cannot offer one

      single piece of evidence to explain or support these requests. The only reason Movant is being pursued in this

      manner is because I do not speak favorably about Ms. Lively, her husband (who was originally a named Defendant

      in the case, but has since been dismissed leaving us to also wonder why his name appears on the subpoena as a

      party Exhibit D) or her legal team that is seen as abrasive, mean spirited, repetitive, and unprofessionally careless

      of any party’s personal information outside of their client’s.

G. Google lacks my consent to share my personal information under § 2702(b)(3) of the Stored

      Communications Act.

      Section 2702(b)(3) of the SCA creates an exception based on lawful consent that applies to civil discovery. The

      SCA authorizes an ECS or RCS provider to divulge the contents of communications when “lawful consent” has

      been given to do so.

              Google does not have my lawful consent to disclose any of my personal information. J.T. Shannon Lumber

      Co. v. Gilco Lumber Inc., No. 2:07-cv-119, 2008 WL 3833216 (N.D. Miss. Aug. 14, 2008), reconsideration

      denied, 2008 WL 4755370, at *1 (N.D. Miss. Oct. 29, 2008). The plaintiff sought all e-mails in the three individual

      defendants’ personal Microsoft, Yahoo!, and Google accounts. The court found the “statutory language [] clear and

      unambiguous” and ruled that a Rule 45 subpoena does not constitute an exception to the SCA allowing an ECS

      provider to divulge the contents of communications. Id. at *1–*2.

              Movant uses a pseudonym for personal safety, having previously experienced stalking, sexual assault, and

     credible threats. Plaintiffs' counsel has an established history in this case of improper (completely absent) redaction

     in filings and have exposed the home addresses of every Wayfarer defendant. This led to death threats to all the

     defendants, several of which are women, threats of kidnap and harm to a wife and daughter not affiliated with the

     lawsuit, an act of arson where the arsonist is currently in jail, and the disclosure of two separate medical conditions,


                                                            4
            Case 1:24-cv-10049-LJL                Document 445           Filed 07/18/25          Page 12 of 71



       further heightening the risk of exposure and harm to any person’s information presented to this lawsuit. Movant has

       no evidence whatsoever that any personal information retrieved in any way by Ms. Lively and her counsel would be

       kept confidential as they have failed time and again to redact sensitive information. Ms. Lively throws tantrums

       about her own privacy and safety on a regular basis but does not afford these rights to anyone else. In spite of the

       instances mentioned in this paragraph, the public has not seen a single instance where the Court has given Plaintiff

       or Plaintiff’s counsel the slightest discipline or warning as a result of their professional incompetence in this regard.

                 In an effort to stall and confuse Movants in the limited time we have to file a Motion to Quash this

       subpoena, attorney Esra Hudson apparently instructed the receptionists at her law office, Manatt Phelps & Phillips,

       LLP, to avoid the truth when asked about the authenticity of these subpoenas. One Movant’s attorney was told three

       times that the subpoenas are fake. On another recorded phone call transcribed here as Exhibit E, one YouTuber was

       told that Esra instructed her to say “We don’t know. We’re trying to work it out,” if asked about them.

       Movants have been left with little time to respond before the deadline given Google. Out of an abundance of

       caution, I am adhering to the date of July 16, 2025.



III. LEGAL STANDARD

   A. Under Rule 45(d)(3)(A), a court must quash or modify a subpoena that:

       1.    Requires disclosure of privileged or other protected matter,

       2.    Subjects a person to undue burden.

             The First Amendment protects the right to anonymous speech, especially on matters of public concern. See

       McIntyre v. Ohio Elections Comm'n, 514 U.S. 334 (1995); Doe v. 2TheMart.com Inc., 140 F. Supp. 2d 1088 (W.D.

       Wash. 2001); Sony Music Entm't Inc. v. Does 1–40, 326 F. Supp. 2d 556 (S.D.N.Y. 2004).


   B. Rule 45(c)(2) states regarding the place of issue: “production of documents, electronically stored information, or

       tangible things at a place within 100 miles of where the person resides, is employed, or regularly transacts business

       in person”


             Third party to this case, Stephanie Jones of Jonseworks, is currently being legally challenged in her efforts to

       unmask the identities of unknown accounts and accessing online account information of former employees in




                                                               5
        Case 1:24-cv-10049-LJL               Document 445             Filed 07/18/25         Page 13 of 71



     multiple districts of California where she has subpoenaed multiple entities such as Meta, Pinterest, and WhatsApp.

     Exhibit F.


IV. ARGUMENT

  A. The Subpoena Violates the First Amendment

              The right to speak or publish anonymously, especially on matters of public concern, is firmly protected

     under the First Amendment and the US Supreme Court has ruled on this. In McIntyre v. Ohio Elections

     Commission, 514 U.S. 334 (1995), after pointing to famous author Mark Twain and others who published under

     pseudonyms, Justice John Paul Stevens stated: "freedom to publish anonymously extends beyond the literary

     realm”. He continued saying that though curiosity may cause some to wonder about one’s identity, “decision in

     favor of anonymity may be motivated by fear of economic or official retaliation, by concern about social ostracism,

     or merely by a desire to preserve as much of one's privacy as possible" and "the identity of the speaker is no

     different from other components of the document's content that the author is free to include or exclude". As the

     Court stated: “Anonymity is a shield from the tyranny of the majority... It thus exemplifies the purpose behind the

     Bill of Rights and of the First Amendment in particular: to protect unpopular individuals from retaliation.” (Id. at

     357) A favorite Justice, Ginsberg not only concurred, but made a comment in her statement correcting one Justice

     who dissented. The two dissents were based on a political aspect, not on anonymity itself. (Emphasis added)

              Movant is engaging in lawful commentary on a high-profile lawsuit — a matter of public concern. She is

     not a party to the case and has no affiliation with any party. The subpoena seeks to unmask an anonymous speaker

     engaged in this lawful commentary. Plaintiffs have not provided evidence of wrongdoing, much less satisfied the

     burden for disclosure, merely because Movant expresses a perspective disfavored by the Plaintiff. Disclosure in this

     context would chill lawful expression, in violation of McIntyre.


     B. Plaintiff Failed to Obtain a Court Order Before Attempting to Unmask Anonymous Accounts

              Movant objects to the subpoena to the extent it seeks information about an anonymous YouTube user

     without first obtaining an appropriate court order as required by the First Amendment. See Smythe v. Does 1-10,

     No. 15-mc-80292-LB, 2016 WL 54125 (N.D. Cal. Jan. 5, 2016) (denying the motion to enforce a subpoena against

     Twitter where movant failed to overcome user’s First Amendment right to anonymous speech). Before a subpoena

     can be issued to a service provider like Meta for information regarding the identity of an anonymous internet user,


                                                           6
            Case 1:24-cv-10049-LJL                 Document 445           Filed 07/18/25          Page 14 of 71



         the party seeking the information must first “persuade” the court that there is a real evidentiary basis for believing

         that the defendant has engaged in wrongful conduct that has caused real harm to the interests of the plaintiff.” Music

         Grp. Macao Commercial Offshore Ltd. v. Does, 82 F. Supp. 3d 979, 983 (N.D. Cal. 2015) (citing Highfields Capital

         Mgmt., L.P. v. Doe, 385 F. Supp. 2d 969, 975-76 (N.D. Cal. 2005)); Mirza v. Yelp, Inc., No. 21-MC-621, 2021 WL

         3772039, at *1-2 (S.D.N.Y. Aug. 25, 2021).1

             The Highfields standard is regularly applied, especially in California, where the subpoena was served, regarding

         the unmasking of accounts on social media. Courts apply strict scrutiny in these cases, requiring plaintiffs to show:

             1.   A valid legal claim,

             2.   A strong factual basis connecting the speaker to alleged harm,

             3.   Necessity of the information sought.

         None of these criteria have been met.

                  While attorneys affiliated with Manatt Phelps & Phillips, LLP, may be accustomed to filing sham Doe

         lawsuits as they have done in this case to access the entire contents of Defendant Jennifer Abel’s phone (possibly

         committing federal and state crimes), where they slip in, file a bogus complaint with pretend causes of action using a

         client’s shell company, serve an underhanded subpoena to whitewash information they may already have in hand,

         avoid assignment of a judge to avoid the necessary prima facie showing (as outlined in the cases cited above on this

         page), and quietly withdraw the sham lawsuit with no member of the court ever knowing it existed, the rest of

         civilization understands that is not the way we do things. Every person being served a subpoena has the right to be

         notified, legally represented, and protected, either by counsel in a standard lawsuit, or by a presiding judge who has

         heard the pleadings and determined the legal necessity of said subpoena in a Doe situation, so that Does have legal

         representation to protect their rights.

                   I have concerns that not all content creators will have the chance to defend themselves since there is no

         complete list available for whom Ms. Lively has requested this overbroad, intrusive information from. I request the

         court see that all Doe type subpoenas served without court order from the appropriate District Court, be revoked
1
  To the extent you seek information about an anonymous non-party witness, you must establish (1) the subpoena seeking the
information was issued in good faith and not for any improper purpose, (2) the information sought relates to a core claim or
defense, (3) the identifying information is directly and materially relevant to that claim or defense, and (4) information
sufficient to establish or to disprove that claim or defense is unavailable from any other source. See In re Pinterest, Inc., 671
F. Supp. 3d 1022, 1025 (N.D. Cal. 2023).




                                                                7
  Case 1:24-cv-10049-LJL                 Document 445            Filed 07/18/25           Page 15 of 71



and any future subpoenas of this type be properly filed by Ms. Lively being required to present her prima facie

case to the appropriate District Court for a court ordered subpoena to protect the First Amendment rights of

everyone involved. This has not been done in my case so far.



C. The Subpoena Appears to Have Been Served by the Wrong Court

         I initially attempted to file this motion in the Federal Court in Sacramento where Google is located but was

informed that my subpoena was not issued from their district and that the issuing court was SDNY. In accordance

with the Uniform Interstate Deposition and Discovery Act (UIDDA), and FRCP § 45(c)(2), subpoenas served

outside of 100 miles of the issuing court must be issued in the court district of the entity being served. I have

included a screenshot of the easy-to-follow instructions on how to properly domesticate a New York subpoena to

serve an entity in California. Exhibit G I object to an out of district subpoena being served to collect my personal

information.



D. The Subpoena Is Overbroad and Unduly Burdensome

         The demand for extensive personal data—including banking information and geolocation—goes far beyond

what is relevant or necessary. It sweeps in private data of not only non-parties, but even more distant such as

spouses and family members of non-parties who are included in joint bank accounts, live at the same address, share

the same phone number, email address, credit card, YouTube account, or use the same IP address. Movant is not a

party to this action and should not be forced to bear the burden of compliance, much less have her loved ones

exposed to the dangers every member of the Wayfarer party has so far been subjected to as a direct consequence of

the Court continually allowing Plaintiff’s counsel’s lack of basic, proper redacting.



E. Disclosure Would Cause Irreparable Harm

         Movant has faced serious safety threats in the past. Her stalker, to this date, has not been identified.

Disclosure of her identity to a party with a record of data mishandling poses an unacceptable risk of physical harm

and doxxing. The chilling effect on protected speech is profound.

         Additionally, the court’s indulgence of Ms. Lively’s outrageous request would set a dangerous precedent

destroying the first basic right of citizens of this country: Their First Amendment Right of Free Speech.


                                                       8
  Case 1:24-cv-10049-LJL                 Document 445            Filed 07/18/25          Page 16 of 71



         Ms. Lively and her same law firm, Manatt Phelps & Phillips, LLP, have already set one dangerous

precedent in the course of this lawsuit, namely, the Vanzan sham lawsuit (described on the previous page) where

Ms. Lively obtained the entirety of the very basis of her retaliation claims spelled out in her CRD complaint, the

New York Times article, and subsequent lawsuit. In spite of the New York standard for filing a Doe lawsuit outlined

in Sandals Resorts International Limited v Google Inc. (2011) Supreme Court, Appellate Division, First Department,

New York, which states: “where a petitioner demonstrates that [it] has a meritorious cause of action and that the

information sought is material and necessary to the actionable wrong” (see Bishop v. Stevenson Commons Assoc.,

L.P., 74 A.D.3d 640, 641, 905 N.Y.S.2d 29 [2010], lv. denied 16 N.Y.3d 702, 917 N.Y.S.2d 108, 942 N.E.2d 319

[2011] ). In this case, the court ruled: “The petition fails to demonstrate that Sandals has a meritorious cause of

action.” Adding, “As the email at issue does not contain assertions of objective fact with regard to Sandals, the

email cannot form the predicate for a defamation claim based on the first criterion stated above. Furthermore, as

Sandals offers no evidence of the harm the account holder's email has caused it, Sandals has failed to prove the

fourth element of defamation cited above. Therefore, Google shall not disclose the requested information

relating to the account holder. Accordingly, it is hereby ADJUDGED that the petition is denied and this

proceeding is dismissed.” (Emphasis added)

         It appears there could be no retaliation claims without the ill-gotten information obtained by the VanZan

sham lawsuit, yet this case continues in the court that now baselessly seeks my and 15 others’ private information.

Ms. Lively must not be allowed to collect such sensitive information to use in a harmful and scheming way once

again. Ms. Lively and her law firm simply cannot be continually allowed to misuse the courts of New York as a

revenge machine or a witch hunt against those who speak their opinions about her conduct as a public figure and a

party to a public judicial proceeding (the reporting of which is fiercely protected in the state of New York), as we’ve

seen with former Defendant, the New York Times, who was granted a stay of discovery, never having to produce a

single document before their ultimate dismissal though their article and video contained information entirely from

the Vanzan sham subpoena, began being written months before any judicial proceeding was ever filed in court, and

even admitted that it came from “thousands of pages of emails and texts” and not a judicial proceeding. I address

this court with nothing like those claims being brought against me. My information is sought with no claim

whatsoever. My and the other 15 subpoenaed parties’ information is being sought because Ms. Lively has been




                                                       9
            Case 1:24-cv-10049-LJL                 Document 445            Filed 07/18/25           Page 17 of 71



         allowed to make unfounded claims over and over, striking out at whoever she wants to, using the courts of New

         York to do so.

                  She proclaims herself to be the “voice of women” and vowed to not stop speaking for us, while

         simultaneously causing lasting harm to woman after woman with her counsel and the Court’s assistance. I, as most

         of her victims, have done nothing wrong and do not deserve to be unconstitutionally stripped of my rights to suit her

         whims.



         F. Alternative Mechanisms Exist

                  Movant is willing to cooperate with the Court through less invasive means, such as submission of sworn

         affidavits to confirm lack of affiliation and communication with Defendants for ex parte (excluding members of

         Lively’s counsel), in camera review, before the court with no unredacted copies made available to any member of

         Blake Lively’s counsel, parties, or any public filing on the docket. I will submit to a polygraph test on this subject,

         paid for by Ms. Lively. There is no justification for the sweeping, public disclosure Plaintiffs seek.



V. CONCLUSION

    This subpoena fails on multiple grounds. It is breathtakingly overbroad and invasive, putting not only myself as a non-

party to this case at risk, but also my loved ones who share bank accounts, credit cards, physical addresses, IP addresses,

YouTube viewing, phone numbers, etc. It is baseless since there is not one shred of evidence that I am or have ever been paid

by any of the Wayfarer parties or their counsel, or anyone affiliated with them. There is no evidence because it did not

happen. It is merely a paranoid fantasy of a person who cannot grasp that people do not approve of her actions. This is yet

another misstep that will bring even more criticism to her already shattered public image.

    It fails because it appears to have been issued by the wrong court and without the required court order. It seeks to

unmask my First Amendment Right of anonymous publishing. It fails because this is information that should be retrieved

from the parties to this case. It fails because there are other remedies available. It fails because it could cause me irreparable

harm.

    Movant respectfully requests that the Court:

    1.   Revoke this and all non-party subpoenas served on Internet providers, phone providers, social media and streaming

         sites, such as YouTube, IG, TikTok, X, Reddit, etc. that have not been properly presented to a court and had a prima


                                                                10
           Case 1:24-cv-10049-LJL                  Document 445             Filed 07/18/25       Page 18 of 71



         facie showing that led to a court order permitting the subpoena to be served (noting that an out of district subpoena

         must also pass inspection in the district it will ultimately be served in).

    2.   Alternatively, quash the subpoena served on Google LLC for Movant, #12 and all others 1-16.

    3.   Alternatively, allow for lesser invasive mechanisms as suggested in this motion.

    4.   Alternatively, narrow the scope and require protective measures,

    5.   Grant such further relief as the Court deems just and proper, including but not limited to sanctions for attorney’s fees

         and costs to cover this completely unnecessary and violating subpoena served without court order, cause or

         reasonable explanation. It has already consumed days of time in an effort to determine its validity, especially after

         being lied to by the serving law firm when called upon to authenticate. This experience caused and will continue to

         cause much emotional distress due to the fears surrounding the overly broad nature of the requests put upon Movant

         and my loved ones from the moment I learned of the subpoena until the matter will be put to rest and I know I am

         safe.



Respectfully submitted,

                  PLEASE REDACT BEFORE FILING

Ni Cai            PLEASE REDACT BEFORE FILING
Manager of Kassidy O’Connell, LLC




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   Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 19 of 71




                     Exhibit A
(The e-mail that accompanied my copy of the subpoena that was ﬁnally
               delivered to me at 2:23 PM, July 14, 2025)




                                   12
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 20 of 71




                                13
  Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 21 of 71




                    Exhibit B
(Ms. Lively’s dkt 410 page 3 stating her intentions to serve more such
                             subpoenas)




                                  14
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 22 of 71




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  Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 23 of 71




                   Exhibit C
(A copy of my subpoena ﬁnally received on July 15, 2025 at 2:23 PM)




                                  16
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 24 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 25 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 26 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 27 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 28 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 29 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 30 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 31 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 32 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 33 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 34 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 35 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 36 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 37 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 38 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 39 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 40 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 41 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 42 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 43 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 44 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 45 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 46 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 47 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 48 of 71
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 49 of 71
     Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 50 of 71




                      Exhibit D
(Listing Ryan Reynolds as a party though he was dismissed from the lawsuit)




                                     17
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 51 of 71




                                18
     Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 52 of 71




                       Exhibit E
(Transcript from Andy Signore’s phone call to Manatt Phelps & Phillips, LLP)




                                     19
        Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 53 of 71




https://youtu.be/Rzen-Sa8e40?feature=shared
Reception:        At the moment we’re still trying to ﬁgure it out what’s been
                  going on because we’ve been getting a bunch of calls all
                  morning, um, we’re not like too sure to be honest with you, like
                  I just, I just do reception.
                  Um, I’m not too sure. I don’t believe so, but I don’t like…


Andy:             No, yeah, I don’t want you to speak out of turn if you’re not
                  sure. My attorney had called earlier and spoke to someone
                  who said that they weren’t real. I just want to make sure
                  they’re positive because I obviously don’t want to miss a legal
                  notice. You know what I mean? And Google’s not able to
                  conﬁrm it either. It’s all very strange to me. Is there someone
                  you can help me sort of escalate that? It’s been a day now I
                  want to ensure that I get it, you know?


Reception:        Honestly, yeah, I we’re just told to take a message until
                  everything, um, was ﬁgured out, um, Esra personally told us to
                  take messages so we’re trying to ﬁgure out what’s going on so
                  I’m not too sure to be honest.


Andy:             So, she’s unaware herself?


Reception:        Yeah, we’re all trying to ﬁgure out something. We’re all trying
                  to ﬁgure it out.



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        Case 1:24-cv-10049-LJL   Document 445    Filed 07/18/25   Page 54 of 71




Andy:             You’re trying to ﬁgure out whether you subpoenaed Google?
                  You don’t even know?


Reception:        No, I’m just reception, sir.


Andy:             But you said Esra said to take the message?


Reception:        We’ve been getting these calls all day and I don’t know.




                                          21
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 55 of 71




                  Exhibit F
    (File from Jones v Meta Opposing her Motion to Compel)




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     Case 1:24-cv-10049-LJL       Document 445        Filed 07/18/25   Page 56 of 71



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 9

10                          UNITED STATES DISTRICT COURT
11                         NORTHERN DISTRICT OF CALIFORNIA
                               SAN FRANCISCO DIVISION
12
     IN RE: SUBPOENAS TO META                          Case No. 3:25-mc-80165-TSH
13   PLATFORMS, INC. AND PINTEREST,
     INC.                                              META PLATFORMS, INC.’S
14                                                     OPPOSITION TO MOTION TO
     Served in case: Jones, et al. v. Abel, et al.,    COMPEL
15   S.D.N.Y. 1:25-cv-00779-UA,
                                                       Date: TBD
16                                                     Time: TBD
                                                       Judge: Hon. Thomas S. Hixson
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                                                 META’S OPPOSITION TO MOTION TO COMPEL
     Case 1:24-cv-10049-LJL             Document 445               Filed 07/18/25         Page 57 of 71



 1                                            TABLE OF CONTENTS
 2                                                                                                                       Page
 3   I.     INTRODUCTION ............................................................................................... 1
 4   II.    BACKGROUND ................................................................................................. 1
 5   III.   ARGUMENT ....................................................................................................... 2
 6          A.       The First Amendment protects anonymous speech on the internet. ...................... 2
 7          B.       Petitioners are limited purpose public figures who have failed to
                     make a prima facie showing that the allegedly defamatory
 8                   statements were made with actual malice................................................... 6
 9   IV.    CONCLUSION ................................................................................................... 9
10

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                                                             -i-

                                                             META’S OPPOSITION TO MOTION TO COMPEL
     Case 1:24-cv-10049-LJL                 Document 445              Filed 07/18/25           Page 58 of 71



 1                                            TABLE OF AUTHORITIES
 2                                                                                                                        Page(s)
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        No. 10-CV-05022-LHK, 2011 WL 5444622 (N.D. Cal. Nov. 9, 2011) ...................... 3
 5
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 6      807 F.3d 541 (2d Cir. 2015) ...................................................................................... 6
 7   Biro v. Conde Nast,
        963 F. Supp. 2d 255 (S.D.N.Y. 2013)................................................................ 6, 7, 8
 8
     Blossoms & Blooms, Inc. v. Doe,
 9      No. 22-1557-KSM, 2022 WL 3030788 (E.D. Pa. July 29, 2022) .............................. 8
10   Castro v. Doe,
       No. 23-MC-80198-TSH, 2023 WL 9232964 (N.D. Cal. Oct. 12, 2023) ........ 2, 3, 5, 8
11
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12     No. 12-MC-80237 CRB, 2013 WL 4536808 (N.D. Cal. Aug. 22, 2013) ................... 4
13   Highfields Capital Mgmt., L.P. v. Doe,
        385 F. Supp. 2d 969 (N.D. Cal. 2005)....................................................................... 3
14
     In re Anonymous Online Speakers,
15      661 F.3d 1168 (9th Cir. 2011) ................................................................................... 4
16   In re DMCA § 512(h) Subpoena to Twitter, Inc.,
        608 F. Supp. 3d 868 (N.D. Cal. 2022)....................................................................... 3
17
     In re Subpoena to: Reddit, Inc.,
18      24-mc-80005, 2024 WL 477519 (N.D. Cal. Feb. 7, 2024)......................................... 3
19   Music Group Macao Commer. Offshore Ltd. v. Does,
       82 F. Supp. 3d 979 (N.D. Cal. 2015)......................................................................... 3
20
     Smythe v. Does 1-10,
21     No. CV 15-4801-R, 2015 WL 12819173 (C.D. Cal. Sept. 25, 2015) ......................... 5
22   The London v. Does 1-4,
       279 F. App’x 513 (9th Cir. 2008) .......................................................................... 3, 4
23
     United States v. Meta Platforms, Inc.,
24     No. 23-MC-80249-PHK, 2023 WL 8438579 (N.D. Cal. Dec. 5, 2023) ..................... 4
25   STATUTES
26   28 U.S.C. § 1782 ......................................................................................................... 3, 4
27   OTHER AUTHORITIES
28   First Amendment ................................................................................................. passim
                                                         -ii-

                                                                META’S OPPOSITION TO MOTION TO COMPEL
     Case 1:24-cv-10049-LJL              Document 445               Filed 07/18/25      Page 59 of 71



 1                               TABLE OF AUTHORITIES (Continued)
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 4   Megan Twohey, Mike McIntire and Julie Tate, ‘We Can Bury Anyone’:
       Inside a Hollywood Smear Machine, N.Y. TIMES, Dec. 22, 2024,
 5     available at
       https://www.nytimes.com/2024/12/21/business/media/blake-lively-
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        Internet On? (Jan. 3, 2025), https://perezhilton.com/internet-
 8      reactions-blake-lively-justin-baldoni-it-ends-with-us-legal-drama/ ....................... 7
 9   www.stephaniejonesleaks.com ...................................................................................... 2
10   www.stephaniejoneslies.com ......................................................................................... 2
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                                                            -iii-

                                                            META’S OPPOSITION TO MOTION TO COMPEL
     Case 1:24-cv-10049-LJL   Document 445            Filed 07/18/25    Page 60 of 71



 1                                I.       INTRODUCTION
 2         This matter arises from the very public dispute between actors Justin Baldoni
 3   and Blake Lively, the stars of the 2024 film It Ends With Us. Petitioners Stephanie
 4   Jones and Jonesworks LLC (Petitioners) are the former public relations
 5   representatives for Mr. Baldoni who are currently suing Mr. Baldoni and others in
 6   the Southern District of New York for alleged misconduct stemming from the
 7   Baldoni-Lively dispute. As part of that litigation, Petitioners issued a subpoena to
 8   nonparty Meta Platforms, Inc. (Meta) for identifying information regarding the
 9   administrator of a Facebook page that has allegedly defamed Petitioners. Meta
10   objected to the subpoena on First Amendment grounds, and Petitioners now move to
11   compel Meta’s compliance.
12         The Court should deny Petitioners’ motion because they have failed to carry
13   their burden to overcome the Facebook user’s First Amendment right to engage in
14   anonymous speech. When a litigant subpoenas a service provider like Meta for an
15   anonymous user’s identifying information, the First Amendment requires the
16   requesting party to demonstrate a prima facie case on the merits of their underlying
17   claim. Petitioners claim the discovery sought by the subpoena is necessary for their
18   defamation claim, but Petitioners are limited purpose public figures who must
19   sufficiently allege any defamatory statements were made with actual malice.
20   Petitioners, however, do not address the actual malice standard at all in their
21   motion to compel. Accordingly, Petitioners have failed to carry their burden under
22   the First Amendment and Meta respectfully requests that the Court deny their
23   motion to compel.
24                                 II.     BACKGROUND
25         The Baldoni-Lively dispute has attracted a great deal of public attention. See,
26   e.g., Megan Twohey, Mike McIntire and Julie Tate, ‘We Can Bury Anyone’: Inside a
27   Hollywood   Smear    Machine,       N.Y.    TIMES,       Dec.     22,   2024,   available   at
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                                                -1-

                                                META’S OPPOSITION TO MOTION TO COMPEL
     Case 1:24-cv-10049-LJL         Document 445      Filed 07/18/25    Page 61 of 71



 1   https://www.nytimes.com/2024/12/21/business/media/blake-lively-justin-baldoni-it-
 2   ends-with-us.html. Petitioners’ Complaint stems from that dispute and was filed in
 3   New York against Mr. Baldoni and others on December 24, 2024. See ECF No. 1-2.1
 4   The Complaint alleges, among other things, that certain defendants used the
 5   Baldoni-Lively dispute to attack Petitioners’ reputation and steal their business. Id.
 6   ¶¶ 46-106. As relevant to the pending motion to compel, Petitioners’ Complaint
 7   alleges      that    certain     John      Doe   defendants       created   two    websites
 8   (www.stephaniejonesleaks.com and www.stephaniejoneslies.com) and unidentified
 9   social media accounts that promoted those websites as part of a conspiracy to
10   defame Petitioners. Id. ¶¶ 23, 92-93.
11         In an apparent effort to learn who was behind one of the unidentified social
12   media accounts mentioned in their Complaint, Petitioners issued a subpoena to
13   Meta for “[a]ll basic user information regarding the Facebook account at
14   https://www.facebook.com/people/Stephanie-Jones/61559205100286/              including   the
15   user’s name, physical address, phone number, e-mail address, and account login and
16   usage history (including IP addresses and user location data).” ECF No. 1-3.
17         Meta objected to the subpoena on First Amendment grounds, see ECF No. 1-4,
18   and Petitioners now move to compel Meta’s compliance with the subpoena.
19                                       III.    ARGUMENT
20   A.    The First Amendment protects anonymous speech on the internet.
21             Petitioners assert that “[t]he Ninth Circuit has repeatedly held that the First
22   Amendment does not protect subscriber information from discovery.” ECF No. 1 at
23   11. Not so. As this Court has held, “[t]he First Amendment protects the rights of
24   individuals to speak anonymously” and “[t]he Ninth Circuit recognizes that the
25   decision to remain anonymous extends to anonymous speech made on the internet.”
26
     1 The defendants removed the Complaint from state court to the U.S. District Court
27
     for the Southern District of New York on January 27, 2025. See ECF No. 1 in
28   S.D.N.Y Case No. 1:25-cv-00779.
                                         -2-

                                                  META’S OPPOSITION TO MOTION TO COMPEL
     Case 1:24-cv-10049-LJL    Document 445        Filed 07/18/25   Page 62 of 71



 1   Castro v. Doe, No. 23-MC-80198-TSH, 2023 WL 9232964, at *3 (N.D. Cal. Oct. 12,
 2   2023) (citing In re Anonymous Online Speakers, 661 F.3d 1168, 1173 (9th Cir. 2011)
 3   (“[O]nline speech stands on the same footing as other speech – there is ‘no basis for
 4   qualifying the level of First Amendment scrutiny that should be applied’ to online
 5   speech.”) (quoting Reno v. Am. Civil Liberties Union, 521 U.S. 844, 870 (1997)).
 6   Accordingly, an anonymous internet user’s subscriber information is presumptively
 7   protected by the First Amendment and “[w]hen third-party providers such as [Meta]
 8   receive subpoenas to produce identifying information of posters of anonymous
 9   speech, courts apply the appropriate First Amendment standard to ensure that a
10   person’s right to anonymous speech is protected.” Castro, 2023 WL 9232964, at *3
11   (collecting cases).
12          “Operationally, the inquiry consists of two steps.” Id. (quoting In re DMCA §
13   512(h) Subpoena to Twitter, Inc., 608 F. Supp. 3d 868, 876 (N.D. Cal. 2022)). “First,
14   the party seeking the disclosure must demonstrate a prima facie case on the merits
15   of its underlying claim. Second, the court balances the need for the discovery against
16   the First Amendment interest at stake.” Castro, 2023 WL 9232964, at *3 (quoting In
17   re DMCA § 512(h) Subpoena to Twitter, Inc., 608 F. Supp. 3d at 876). While this
18   Court has allowed discovery of subscriber information over a First Amendment
19   objection in some circumstances, it has also denied requests for subscriber
20   information on First Amendment grounds on many occasions. See, e.g., In re
21   Subpoena to: Reddit, Inc., 24-mc-80005, 2024 WL 477519, at *5 (N.D. Cal. Feb. 7,
22   2024) (denying motion to compel Reddit to produce subscriber information); In re
23   DMCA § 512(h) Subpoena to Twitter, Inc., 608 F. Supp. 3d at 883 (denying motion to
24   compel Twitter to produce subscriber information); Music Group Macao Commer.
25   Offshore Ltd. v. Does, 82 F. Supp. 3d 979, 982 (N.D. Cal. 2015) (denying motion to
26   compel Glassdoor to produce subscriber information); Art of Living Found. v. Does 1-
27   10, No. 10-CV-05022-LHK, 2011 WL 5444622, at *1 (N.D. Cal. Nov. 9, 2011)
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                                             META’S OPPOSITION TO MOTION TO COMPEL
     Case 1:24-cv-10049-LJL     Document 445        Filed 07/18/25   Page 63 of 71



 1   (denying motion to compel Google and Automattic to produce subscriber
 2   information); Highfields Capital Mgmt., L.P. v. Doe, 385 F. Supp. 2d 969, 971 (N.D.
 3   Cal. 2005) (granting motion to quash subpoena for Yahoo! subscriber information).
 4         Petitioners ignore those cases, while citing a series of cases that are factually
 5   inapposite and do not support the incorrect suggestion that subscriber information is
 6   wholly unprotected by the First Amendment. The London v. Does 1-4 case that
 7   Petitioners rely upon involved an application under 28 U.S.C. § 1782 for discovery
 8   regarding certain email accounts for use in a divorce in St. Martin. 279 F. App’x 513,
 9   514 (9th Cir. 2008). The Ninth Circuit allowed that discovery because “Appellants
10   cite[d] no authority for the proposition that the First Amendment bars release of
11   identifying data for email accounts used to solicit sex partners on the Internet.” Id.
12   at 515. Those facts in an overseas divorce case are a far cry from the facts of this
13   case, and in any event, the Ninth Circuit panel in London v. Does 1-4 did not suggest
14   that the First Amendment leaves anonymous internet users’ subscriber information
15   wholly unprotected.
16         The United States v. Meta Platforms, Inc. case that Petitioners cite also
17   involved a § 1782 application, this time for discovery regarding certain Instagram
18   accounts for use in a civil case in South Korea. No. 23-MC-80249-PHK, 2023 WL
19   8438579, at *1 (N.D. Cal. Dec. 5, 2023). The court noted that “United States citizens,
20   whether inside or outside of United States territory, possess First Amendment
21   rights,” while “[f]oreign citizens who are outside United States territory, by contrast,
22   do not possess any rights under the United States Constitution, including under the
23   First Amendment.” Id. at *6. Because there was “nothing in the present record
24   indicating the unidentified defendant(s) in the underlying Korean civil action are
25   entitled to First Amendment protections,” the court permitted the discovery. Id.
26   That case has no bearing on this matter, which involves a U.S. civil proceeding
27   among U.S. residents.
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                                              META’S OPPOSITION TO MOTION TO COMPEL
     Case 1:24-cv-10049-LJL    Document 445        Filed 07/18/25   Page 64 of 71



 1         Petitioners also cite Chevron Corp. v. Donziger, which sought discovery
 2   regarding certain email accounts, and is a case where this Court discussed the Ninth
 3   Circuit’s opinion finding that the First Amendment presumptively protects
 4   subscriber information. No. 12–MC–80237 CRB, 2013 WL 4536808, at *6 (N.D. Cal.
 5   Aug. 22, 2013) (discussing In re Anonymous Online Speakers, 661 F.3d at 1177). In
 6   Chevron, the court ultimately rejected the First Amendment objections because the
 7   subpoenas at issue were “not seeking to link the identity of the email subscribers
 8   with the receipt of particular statements” nor did the movants “satisfactorily show[]
 9   that their actions were anonymous.” 2013 WL 4536808 at *7-*8. Those facts are the
10   polar opposite of this case, where Petitioners are trying to link the Facebook user to
11   allegedly defamatory statements and the user is indisputably anonymous.
12         Finally, the Smythe v. Does 1-10 case that Petitioners cite involved allegations
13   that unknown internet users were engaged in “cyber harassment and cyberstalking”
14   of the plaintiff as well as the use of “hacked passwords to access and control
15   [plaintiff’s] website and email accounts.” No. CV 15-4801-R, 2015 WL 12819173, at
16   *1 (C.D. Cal. Sept. 25, 2015). While the court acknowledged “the First Amendment
17   provides some rights regarding anonymity,” it permitted the plaintiff to obtain the
18   requested subscriber information because “[a]n assertion of anonymity for fear of
19   being connected to potentially illegal action is unpersuasive.” Id. at *2. Nothing in
20   Smythe supports Petitioners’ claim that subscriber information is per se unprotected
21   by the First Amendment, nor do that case’s allegations of serious criminal acts by
22   the anonymous users provide this Court with any relevant factual precedent for how
23   to resolve a subpoena like the one issued to Meta involving allegations of civil
24   defamation.
25         In sum, the subscriber information at issue here is presumptively protected by
26   the First Amendment and the Court must assess whether Petitioners have
27   demonstrated a prima facie case on the merits of their defamation claim before
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                                             META’S OPPOSITION TO MOTION TO COMPEL
     Case 1:24-cv-10049-LJL     Document 445     Filed 07/18/25   Page 65 of 71



 1   compelling Meta to comply with the subpoena. See Castro, 2023 WL 9232964, at *3.
 2   For the reasons below, Meta respectfully submits that Petitioners have failed to
 3   carry their burden.
 4   B.    Petitioners are limited purpose public figures who have failed to
           make a prima facie showing that the allegedly defamatory statements
 5         were made with actual malice.
 6         Petitioners claim to have made a prima facie showing of their defamation
 7   claims, but nowhere in Petitioners’ motion do they address the actual malice
 8   standard that applies to defamation claims brought by limited purpose public
 9   figures. Meta submits that is fatal to their motion because Petitioners are limited
10   purpose public figures with respect to the Baldoni-Lively dispute.
11         In the Second Circuit, where Petitioners’ underlying case is pending, 2
12   “[l]imited-purpose public figures who seek damages for defamatory statements must
13   show that the statements were made with ‘actual malice’—that is, with knowledge
14   that the statements were false or with reckless disregard as to their falsity.” Biro v.
15   Conde Nast, 807 F.3d 541, 544 (2d Cir. 2015). “Whether or not a person or an
16   organization is a public figure is a question of law for the court to decide.” Biro v.
17   Conde Nast, 963 F. Supp. 2d 255, 270 (S.D.N.Y. 2013). “[O]nce a plaintiff is deemed
18   a limited purpose public figure, courts allow the heightened protections to sweep
19   broadly, covering all statements by defendants that are not wholly unrelated to the
20   controversy.” Id. at 271 (cleaned up).
21         The Second Circuit’s test for determining whether Petitioners are limited
22   purpose public figures requires an assessment of whether Petitioners have:
23                (1) successfully invited public attention to [their] views in
                  an effort to influence others prior to the incident that is
24                the subject of litigation; (2) voluntarily injected
25                [themselves] into a public controversy related to the
                  subject of the litigation; (3) assumed a position of
26
     2 The governing law in the court where the underlying case is pending controls the
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     prima facie claim analysis. See, e.g., Castro, 2023 WL 9232964, at *3 (analyzing
28   Texas law to determine “whether plaintiff has a viable defamation claim.”).
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                                              META’S OPPOSITION TO MOTION TO COMPEL
     Case 1:24-cv-10049-LJL     Document 445        Filed 07/18/25   Page 66 of 71



 1                prominence in the public controversy; and (4) maintained
                  regular and continuing access to the media.
 2

 3         Biro, 963 F. Supp. 2d at 270 (quoting Lerman v. Flynt Distrib. Co., Inc., 745
 4   F.2d 123, 136–37 (2d Cir. 1984)). Petitioners satisfy all four elements of this test
 5   with respect to the Baldoni-Lively dispute, as detailed below.
 6         Regarding the first element, Petitioners have successfully invited public
 7   attention to their views in an effort to influence others by dint of their asserted
 8   status as “internationally recognized public-relations and strategic-communications”
 9   experts with “a roster of prominent corporate, entertainment, and sports clients[.]”
10   ECF No. 1-16 at ¶¶ 1-2 (Declaration of Stephanie Jones). The Counterclaim-
11   Plaintiffs in the underlying suit further allege that one of the Petitioners is half of a
12   “bona fide Hollywood power couple” by virtue of her marriage to a prominent talent
13   agent. ECF No. 1-9 at ¶ 12 (Counterclaims of Jennifer Abel); see also ECF No. 1-12
14   at ¶ 12 (Counterclaims of Wayfarer Studios LLC). Together, these admissions and
15   allegations establish that Petitioners have invited public attention to their views on
16   public-relations and strategic-communications in the entertainment industry prior
17   to the Baldoni-Lively dispute. See Biro, 963 F. Supp. 2d at 271 (plaintiff’s
18   proclamations that he was a “leading authority” in his field were sufficient to
19   establish he had invited public attention to his views).
20         As for the second and third elements, Petitioners have voluntarily injected
21   themselves into the Baldoni-Lively dispute and assumed a position of prominence in
22   it. This is evidenced by an email purportedly sent by Petitioners claiming,
23                I have been deeply involved in strategy, planning, account
                  management and high level PR and media comms as well
24                as crisis until you asked me to stop communicating on
25                behalf of Justin and Wayfarer on 8/9/24 and allow only
                  Jennifer, Matthew and team to handle. I’ve been on set
26                during shoots and have had numerous calls weekly with
                  my team and yours as well as many with Justin,
27                particularly regarding Blake, often at 11 pm, 1am ET
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                                              META’S OPPOSITION TO MOTION TO COMPEL
     Case 1:24-cv-10049-LJL     Document 445      Filed 07/18/25   Page 67 of 71



 1                 (New York). My commitment spans not only the past
                   eight years but also the last four since you joined.
 2

 3         See ECF No. 1-12 at ¶ 48 (Counterclaims of Wayfarer Studios LLC); ECF No.
 4   1-9 at ¶ 79 (Counterclaims of Jennifer Abel). 3 The Counterclaim-Plaintiffs further
 5   allege that Petitioners injected themselves into the Baldoni-Lively dispute and
 6   assumed a position of prominence in it by:
 7                making a “desperate attempt to re-insert [themselves in the Baldoni-
                   Lively dispute] and contact[ing] a Daily Mail reporter about a story
 8                 they had published about Baldoni and Lively,” ECF No. 1-9 at ¶ 81
 9                 (Counterclaims of Jennifer Abel); see also ECF No. 1-12 at ¶ 40
                   (Counterclaims of Wayfarer Studios LLC);
10
                  “advocating for a more aggressive public relations strategy” by
11                 “promot[ing] positive narratives that media outlets cannot ignore” and
                   “mobiliz[ing] a robust network of supporters and third-party
12                 advocates,” ECF No. 1-12 at ¶¶ 45-46 (Counterclaims of Wayfarer
                   Studios LLC); and
13
                  providing one of the Counterclaim-Plaintiff’s private communications to
14                 Ms. Lively and others. See ECF No. 1-9 at ¶¶ 90-91 (Counterclaims of
                   Jennifer Abel).
15

16         Finally, as public-relations and strategic-communications experts in the
17   entertainment industry, Petitioners necessarily maintain regular and continuing
18   access to the media in satisfaction of the fourth element. See Biro, 963 F. Supp. 2d at
19   275 (finding that plaintiff “enjoys significantly greater access to the channels of
20   effective communication than the average private person, and hence has a more
21   realistic opportunity to counteract false statements th[a]n private individuals
22   normally enjoy.”) (cleaned up). Indeed, this appears to be true even as to this specific
23
     3 The Baldoni-Lively dispute has generated strongly held views among the public
24
     and thus qualifies as a public controversy for purposes of this analysis. See Biro, 963
25   F. Supp. 2d at 272 (“A public controversy is simply any topic upon which sizeable
     segments of society have different, strongly held views, even if the topic does not
26   involve political debate or criticism of public officials.”) (cleaned up); see also Perez
     Hilton, Blake Lively Or Justin Baldoni? Whose Side Is The Internet On?,
27   PEREZHILTON.COM (Jan. 3, 2025), https://perezhilton.com/internet-reactions-
     blake-lively-justin-baldoni-it-ends-with-us-legal-drama/ (“From the looks of it, folks
28   have very strong opinions — on both sides.”).
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                                              META’S OPPOSITION TO MOTION TO COMPEL
     Case 1:24-cv-10049-LJL    Document 445        Filed 07/18/25   Page 68 of 71



 1   dispute. See ECF No. 1-12 at ¶ 48 (Counterclaims of Wayfarer Studios LLC) (quoting
 2   Petitioners as claiming to “have been deeply involved in . . . high level PR and media
 3   comms”). Petitioners therefore qualify as limited purpose public figures with respect
 4   to the Baldoni-Lively dispute.
 5         As limited purpose public figures, Petitioners bear the “onerous task” of
 6   alleging that the anonymous Facebook user made their statements with actual
 7   malice supported by “factual allegations” sufficient to establish the user’s state of
 8   mind. Biro, 963 F. Supp. 2d at 278. Conclusory allegations that amount to “a mere
 9   recitation of the legal standard” do not suffice. Id. at 280 (citation omitted). But
10   Petitioners’ motion to compel does not address the actual malice standard at all or
11   Petitioners’ status as limited purpose public figures, let alone factual allegations to
12   meet such standard. Accordingly, Petitioners have failed to make a prima facie
13   showing of their defamation claims and their motion to compel should be denied.
14   Compare Blossoms & Blooms, Inc. v. Doe, No. 22-1557-KSM, 2022 WL 3030788 at *5
15   (E.D. Pa. July 29, 2022) (denying a motion for leave to issue a subpoena for a
16   Facebook user’s subscriber information where plaintiffs failed to establish actual
17   malice because they “offered no evidence that the statements were made with a
18   ‘reckless disregard’ for the truth.”), with Castro, 2023 WL 9232964, at *5 (granting a
19   motion to compel compliance with a subpoena for subscriber information because
20   “falsely accusing someone who is running for President of being under federal
21   criminal indictment and lying about his military service, while using unreliable
22   sources and entertaining serious doubts about the truthfulness of the statements, is
23   enough to satisfy the actual malice standard.”).
24                                    IV.   CONCLUSION
25         For the reasons stated, the Court should deny Petitioners’ Motion to Compel.
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                                             META’S OPPOSITION TO MOTION TO COMPEL
     Case 1:24-cv-10049-LJL   Document 445      Filed 07/18/25   Page 69 of 71



 1   Dated: July 9, 2025                     PERKINS COIE LLP
 2

 3                                           By: /s/ Julie E. Schwartz
                                               Julie E. Schwartz, Bar No. 260624
 4

 5                                           Attorneys for Meta Platforms, Inc.
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                                         META’S OPPOSITION TO MOTION TO COMPEL
 Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 70 of 71




                  Exhibit G
(Instructions for domesticating a New York subpoena to California)
Case 1:24-cv-10049-LJL   Document 445   Filed 07/18/25   Page 71 of 71
